
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-08-00229-CR


______________________________




CLYDE WASHINGTON, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the County Court at Law


Bowie County, Texas


Trial Court No. 08M1064-CCL




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Justice Carter



MEMORANDUM OPINION



	Clyde Washington appeals from his conviction by a jury of the offense of harassment.  See
Tex. Penal Code Ann. §&nbsp;42.07 (Vernon 2003).  The jury assessed his punishment at 120 days'
confinement and a fine of $2,000.00. (1)  Washington was represented by the public defender's office
at trial and by appointed counsel on appeal.  Washington's attorney has filed a brief in which she
concludes that the appeal is frivolous and without merit, after a review of the record and the related
law.

	Counsel states that she has studied the record and finds no error preserved for appeal that
could be successfully argued.  The brief contains a professional evaluation of the record and
advances two arguable grounds for review.  This meets the requirements of Anders v. California, 386
U.S. 738 (1967); Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991); and High v. State, 573
S.W.2d 807 (Tex. Crim. App. [Panel Op.] 1978).

	Counsel mailed a copy of the brief to Washington on April 2, 2009, informing Washington
of his right to examine the entire appellate record and to file a pro se response.  Counsel
simultaneously filed a motion with this Court seeking to withdraw as counsel in this appeal, and
requesting an extension of time for Washington to file his pro se response.  That extension was
granted by this Court until May 28, 2009.  Counsel also notified this Court in that motion that
Washington had not kept her office informed of his whereabouts since his release from custody and
that she was uncertain as to whether he had received the letter and brief she had mailed to him.  If
a criminal defendant fails to keep his or her attorney informed of his or her current address, the
defendant forfeits the right to receive a copy of the Anders brief and the right to file a pro se
response.  In re Schulman, 252 S.W.3d 403 (Tex. Crim. App. 2008).  Washington has not filed a
response or a request for an extension of time in which to file such a response. 

	We have determined that this appeal is wholly frivolous.  We have independently reviewed
the clerk's record and the reporter's record, and we agree that no arguable issues support an appeal. 
See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  In a frivolous appeal
situation, we are to determine whether the appeal is without merit and is frivolous, and if so, the
appeal must be dismissed or affirmed.  See Anders, 386 U.S. 738.

	We affirm the judgment of the trial court. (2)




						Jack Carter

						Justice


Date Submitted:	July 2, 2009

Date Decided:		July 3, 2009


Do Not Publish
1. Washington appeals from four separate convictions of harassment in companion appeals,
cause numbers 06-08-00228-CR, 06-08-00229-CR, 06-00230-CR, and 06-00231-CR, in which
opinions are released this date.  He was sentenced in each case to 120 days' confinement, with the
sentences to run concurrently and fines of $2,000.00.
2. Since we agree this case presents no reversible error, we also, in accordance with Anders,
grant counsel's request to withdraw from further representation of Washington in this case.  No
substitute counsel will be appointed.  Should Washington wish to seek further review of this case
by the Texas Court of Criminal Appeals, Washington must either retain an attorney to file a petition
for discretionary review, or Washington must file a pro se petition for discretionary review.  Any
petition for discretionary review must be filed within thirty days from the date of either this opinion
or the last timely motion for rehearing that was overruled by this Court.  See Tex. R. App. P. 68.2. 
Any petition for discretionary review must be filed with this Court, after which it will be forwarded
to the Texas Court of Criminal Appeals along with the rest of the filings in this case.  See Tex. R.
App. P. 68.3.  Any petition for discretionary review should comply with the requirements of Rule
68.4 of the Texas Rules of Appellate Procedure.  See Tex. R. App. P. 68.4.


